Case 1:23-cv-08704-EK-JAM Document 13 Filed 03/25/24 Page 1 of 2 PageID #: 76




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

                                                                x
SILVIA MARTINEZ, on behalf of herself and all others
similarly situated,
                                                                           Civil Action No:
                                                                           1:23-cv-8704
                                             Plaintiff,



  -v.-
CLOUDLAKE DERMATOLOGY, PLLC



                                         Defendants.


                            JOINT STIPULATION OF DISMISSAL

            IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff and

the Defendant Cloudlake Dermatology, PLLC. that whereas no party hereto is an infant,

incompetent person for whom a committee has been appointed or conservatee, and no person

not a party has an interest in the subject matter of the action, that this action is dismissed with

prejudice and without costs to either party pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure.

Dated: March 25, 2024

 For Plaintiff Silvia Martinez                        For  Defendant Cloudlake
                                                      Dermatology, PLLC
 s/PeterPaul Shaker
 PeterPaul Shaker
 Stein Saks, PLLC                                     Karla Del Pozo García
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Case 1:23-cv-08704-EK-JAM Document 13 Filed 03/25/24 Page 2 of 2 PageID #: 77




                                CERTIFICATE OF SERVICE

       I certify that on March 25, 2024, a copy of the foregoing was filed electronically in the

ECF system. Notice of this filing will be sent to the parties of record by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.

                                              /s/ PeterPaul Shaker
                                              PeterPaul Shaker
                                              Stein Saks, PLLC
                                              Attorneys for Plaintiff




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